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April 3, 2015
VIA E-MAIL

Karin A. Bentz, Esq.

Law Offices of Karin A. Bentz, P.C.
5332 Raadets Gade

Suite 3

St. Thomas, USVI 00802-6309

Re: Jessyca Redler; Bryan Redler v. Marriott International, Inc.;
Matriott Owners Resorts (St. Thomas), Inc. d/b/a Marriott
Frenchman’s Cove; Marriott Ownership Resorts, Inc. d/b/a
Marriott Vacation Club International
D/O/I: April 15, 2012
Case No.: 3:14-CV-17
Our File No.: 71133-JQM

Dear Attorney Bentz:

As you know we have several expert depositions going forward in the months of
April and May 2015. Specifically, we ate taking the depositions of your experts
including Dr. Alan Share, Dr. C.J.Abraham, and Dr. McGrath.

We write to obtain a proposed bill from each of your experts pursuant to Local Rule
of Civil Procedure 26.3 (c). We anticipate that our depositions of your experts will
take no longer than three (3) hours each. Please provide us with experts’ reasonable
proposed bill in accordance therewith and advise whether they will require
prepayment. If they do, we propose pre-paying the reasonable cost for three hours of
deposition testimony. If for some reason the deposition(s) last longer than three
hours we will provide payment for the balance at the deposition via check.

We are in receipt of Dr. Abraham’s statement in connection with his deposition
requesting payment of $5,500.00 for his deposition. Specifically, he appears to request
payment from the defense for 5 hours of deposition preparation ($1,500.00). As you
know, the defense is not responsible for the Plaintiffs” expert’s preparation time.

  
  
 

MIAMI * FORTLAUDERDALE * TAMPA * ORLANDO * NEWYORK * U.S. VIRGINISLANDS * JAMAIC.
aL Board Cerified in Admeirully and Maritime Law, + also admitted to practice in New York, + also admitted to practice in Virginia, % also admitted to practice in Alinois, % also aden)
*b also admitted to practice in Trinidad & Tobago, % also admitted ta practice in Jamaica, & only admitted fo practice in jamaica, % also admitted fo practice in US. Virg
Case: 3:14-cv-00017-CVG-RM Document #: 135-6 Filed: 04/10/15 Page 2 of 2

Karin A. Bentz, Esq.

Law Offices of Karin A. Bentz, P.C.
April 3, 2015

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Additionally, he appears to request payment of $4,000.00 for his deposition. We do
not believe this is a reasonable fee for three hours of deposition testimony. It is
unclear from Dr. Abraham’s statement what his hourly deposition rate is.

We are in receipt of Dr. Ashate’s rate schedule produced by you. The schedule
indicates the fee for his deposition is $3,750.00 per day and his fee for review of
records and reports is $750.00 per hour. We do not believe that $3,750.00 is a
reasonable fee for three hours of deposition testimony. Similarly, we do not believe
the defense is responsible for the costs associated with Dr. Asahre’s review of records
and reports in anticipation of his deposition.

Please provide us with each of your expert’s reasonable fees by close of business on
Wednesday April 8, 2015. Additionally, please confirm in writing by Wednesday
April 8, 2015 whether you will be producing your experts or whether we will need to

issue subpoenas to them. We thank you in advance for your prompt attention to this
matter.

Very truly yours,
HAMILTON, MILLER & BIRTHISEL, LLP
Schuyler Smith

Schuyler Smith, Esq.

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